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                                       [.OR TITE DISTBICT OF IIAWAII

   rafit
   llr.iL,.t, rI frAlJtnai, Et t.i.r                     Caoe I ; I 5 i'v'.iiL:22-ihi$ -Ei,ti{

                Plaintiffs,
                                                          DECLARATIoN oF PATRICK L.
                              "*-                        i&sc*aH&6[,eA

   STATEOFIIAWAtr, eraL,




                                                                                           川¨
                                                                                            ７ゝ
             Defendants,

               and

  SAI\4I.JELL. KEALOHA, JR., EI AI,,

              Int e nt e no r - D efe ndant s.


                           DECI,ARATIoN oF PAITICK L. KAHAwAIoLAA

            PA'rRrcK I.. KAirAwdoLAA, pursuatrt to 2g U:S;C. $ 1745, under pennlty of

  perjury, aud deposes and sa),s as follows:

           ' 1, { amoneofthepattieo attemptitg toi*terveaei* tho above+aptiffied mater.
            2. I amau's. Navy vietnam-Eraveteran, born in Hilo, Hawaii to Rose Mauna

  Dart from Hana, Maui and Antone loseph Kahawaiolaa Sr. from Kaipaia, Kauai.

           3. I was bun aori raise<I ,n Hawuiii*r Home iands at Kuhi. settlement in

  Keaukaha, Hawaii.

           4' Ifi 1934. my motherwas a lessee of tot 248 Kuhio settlemeat inKesukah&
                                                    １■
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       which is thc s∞ Ondrettdぬ dd lomcstead crcated ulldtt mcA.


             5.Upon herdeattin 1950 herspouse,nly Dad,Antone J.Kahawは
                                                                             01aa S■ ,was

       atvarded 10t 248 in Kea山 as a Succ∝ sOr andilp"hiS demisc加
                                                                          1979,L Lmck
   L,KahawaiOlaら the youngest sO■ was awarded 10t 248 L KeatikЯ ha.

            6.Iam a'4native Hawallan"as dcFlnedin Sec● on 201(o OftheIIHCA,in that

   lam a dest・ cnぬ nt Ofnolllttt thtt onc h」 fPart Oftheb160d OFthe=鸞
                                                                           cs inhめ id竜

   the Hawatian lslands previOus t0 1778,

            7.I have si師 oCant cultwal,80CIal,■ ld civic connectJOns with me nattve

  Hawanan cOmlumty.

            8.I have served as HOxxlestead AssociatiOn olEcげ   in va壼 ous capacities,the

   atst as Prcsidcnt of thc鶴 醐 血 IH・4↓ 議1ふ 鳥 品 stt As:6oia菫
  l・
                                                                                     fol・



  approxlmtely the last six(6)years,                                            4

           9,My main interest is hll lllaplemntation Of tt HHcA,rehabllitatiOn ind

  self―   detemllnation of native Hawaiians,use of§ 5(o xnonies tO benettt naivc

  Hawalians and tO settle thc hOmclands.

           10.IsttOnglyottCCtり alcindusiOnofHaw五 iatthavinglcssmatone̲hdfPart

 of the Ы00d participating in the organization of any cntity puOrting to lepresent


 nauve Hawaiians of the blood.

           11.On December l,2001,I a10ng wi血 山購c Other lntervenors,隆
                                                                                 Lahui
 nawaii and the Anahola lIOmesteaders AssOciatlon Aled a cOmplaint in the U.S.

                                           ‑2‐
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    District cOu■ fOr thc Dismct of Lwati,civil Nò01‐
                                                               817,4gainst Gale NoltOn,
    Secret0 0fⅢ e Department ofthe lnttOr,settng to cstablish the right Of native

   Hawatians t0 0rganize themselves into sOvereign tribal endties,as provided in the

   lndiallReorganization Act of 1934,25 ttts.c,,§
                                                     461 etseq.,butexcluded最。mdOing

   SO by 25 c.F̀R.§ 83.1.


          12.On Oc"bOr i3,2005,I dOng withぬ e Othげ Intcrvenoぉ
                                                                        filcd a complttnt

   againstthe Tmstees Ofthe Offlcc OfHawaiiam A鼠
                                                       試邸,in ttc u.S.Dismct cOm for

   me District OfHawtti Ci宙 l No,05‐          9 seeking tO prevcnt OHA from expending

  prOceeds Ofthe§ 5(D mlstfOrthebenent OfHawailans withOutregard tO thenotless

  than one‐ halfpatt Ofthe   Ы00d as dcttned bythe I週 日cA,bascd upon§
                                                                          §4 and 5(o Of
  the Haw・ ati Admiss10■ Act,


         13.Ill Januり ,2009,I JOng vvith the other lntcrvenOFS f1led an amicus bFief

  in tlle United States Supreme CoultinS″ α
                                           ″ 式聰 ″αガ2q″               げ ″α″α″αヮミ 、Jぉ ,
                                                                ̀′

  No.07‐ 1372.

        14.h that case,oHA was attcmpttg topreventthe salc Of§
                                                                        5(0 1andsbythe
 State Of施 waii pШ ttetedly on thc♂ ゅundb Of c・
                                                     l五 nls by nattvc IIawtti翻 ls.In oけ

 hief we took the pOsitiOn that oIIA was mttng claims on behalf of Hawatians

 withoutregard to the not10ss tan onO‐ half,fd b100d quantum m tte IIIIICA and l

 5(o,and that oRA's ttgument was valld only ifthc b100d quantm were resticted

 to notless than one‐ halfpart.


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                                             3‐
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             15.On WIarch 231 2011,I ancng with thc Other lntervenOrs f41ed a cOmPIttnt

   agninst● le Tmstee3 0fthe O」 ice ofHawdian Affairs,in the Circuit Cortofthenttt


   Cil・ c磁   t state ofHaw■1,civil No.11̲1̲575,sceking to pFeVcnt OHA fromexPending

   proceeds ofttc§ 5(otlustForthebenentOfHawatians宙
                                                                 ■Outregard to mc notle88
   than oneぃ hdfpartOfthe b100d tt dettcd by thcIIHcA,based uPcln sttte law,


             16.In 1983,1 4Plied and rOccived a mpla∝ ment home 10Щ
                                                                                 ttm the
   DepamentOfHawatianHonleLands oHHL)。 fs28,000at8 3/4%intercsttorcplace

  the onglnal home awarded tO my MOm in 1934.

         17.On clr aboutOctOber 1986 1,through aNOTcEtOthe DHHL,OBJECttD

  and asked r血 cy We       w■ lhg Ю tcOnsid∝ theintcrestrateo18%%fornlymongage

  to 2蜂 %fclr à協 Pl      cFncnt homc loan"us anthOri   d PursuttttO me HHcA,1920.

         18,Sdd Notice infoaned the DIIHL I was gOing to pay a sum of slo.oO a

  month utrtil the matter with the intere$t rate was resolved,

        19' For appooximatery 7-g years the DHIIL accepted
                                                                     hod acknowredged my

                                 mofttr.
                                                                     I
 protest paymonts of $10.00 a

        2o.on Or abouttte sametimc触 詢∝ I oBJECTED tO dtDIIHL thttplttuant

 toぬe HHcA,1920,sec● 021221,that water to ttc tract thc Hawaiian HOme3

 Couu滅 ssiOn was aumOrized to prOvldc sufFlcicnt waterfbr domestic llsèTREE oF

 ALL CHARGES'',                                                  ￨
       21.On oraboutthe sanle● Ine hmel oBJECTED byNOticetOthe Dm and

                                           ‑4‐
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    Kahawaioiaa IIHC A, lg}g secrion 206,

          26. The state's case against native Hawaiian defendants
                                                                        in county of Hawaii
   v, Kahawaiolaa et al., for Theft of Government service (cementing
                                                                             of &e evidEnce
   of fraud (water meters) was dismissed by Judge sandra schutte
                                                                             with prejudice
   (cannot be charged again).

          27' I and my family were illegally evicte, from
                                                             my home in Keaukaha, Ltrt 24g

   on or about 2003 by a writ of possession for failure
                                                           to pay my mortgago, antl NEYER

   compensated for lost of ALL belongings
                                                    and paid for difference after horue was

  resold but knowing fur] weil the DHHL was still taking
                                                                   my prorcst payments of
  $10.00 a month until the matter courd be resolved
                                                          by amending my lease docum'nts

  aud by krwering the intereut rates for a repraceuent
                                                               home *:an aoc,nling to tire
  HHCA,1920.

        I declare underpenalty ofperjury under the
                                                          laws ofthe united state$ thar the

  foregoing is true aad correct.

        Executed this ___*=__ day of September, 2015,
                                                             at




                                                   ATRICK L,KAHAWAIOLAA




                                          ‐
                                              6‑
